Case 1:03-md-01570-GBD-SN Document 10818-1 Filed 03/28/25 Page 1 of 2

DEFAULT JUDGMENT MOTION COVER SHEET

MDL MOVING PAPERS
Motion: ECF No. _ 10814

Memorandum of law: ECF No. _10816
Declaration & supporting exhibits: ECF No. _10817

PLAINTIFFS
Please describe each set of plaintiffs requesting judgments in this motion.
Exhibit Description of Plaintiffs Cause(s) of Action
A Solatium of U.S. National Decedents 28 U.S.C. Sec. 1605A(c)
B Estates of U.S.-national 9/11 Decedent 28 U.S.C. Sec. 1605A(c)
C Expert Report of Stan V. Smith 28 U.S.C. Sec. 1605A(c)
DEFENDANTS

Please list all defendants the plaintiffs are moving against:

Islamic Republic of Iran, Islamic Revolutionary Guard Corps, Central Bank of the Islamic Republic of Iran

COMPLIANCE

As stated in ECF No. _10817_ at § _15_, counsel followed the quality control measures outlined in
ECF No. 3433 and adopted in ECF No. 3435.

As stated in ECF No. _10817_ at §_15_, these plaintiffs have not previously received judgments
against these defendants.

Excel versions of any tables attached to the proposed order were emailed to
Netburn_NYSDChambers@nysd.uscourts.gov on _03_/ 28 / 2025

SUBJECT MATTER JURISDICTION
H The Court previously addressed subject matter jurisdiction over these claims in ECF No. __ 85

O The Court has not previously addressed subject matter jurisdiction over these claims.

PERSONAL JURISDICTION
A The Court previously addressed personal jurisdiction over these defendants in ECF No. __ 85

O The Court has not addressed personal jurisdiction over these defendants.

FACTUAL & LEGAL QUESTIONS

0 This motion requests 0 new functional equivalence findings; OU new personal injury assessments;
or O resolution of a new issue:

BH This motion does not raise novel factual or legal issues.
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RELEVANT FILINGS
For each member case, list docket entries for the corresponding filings. Duplicate this page if additional space is needed.

Member Case & Notices of Amendment Alternative Service Affidavit of Certificate of Liability

Operative Complaint & Substitutions Order Service Default Judgment

*list entries relevant to moving plaintiffs* |*complete if applicable* *leave blank if requesting

liability judgment*
1:15-cv-9903, 53 10252, 10256, 10431, 10440, 10457, 11/10/2016, 1:15- | 12/5/2016, 1:15- 1/31/2017, 1:15-cv-9903,
10462, 10730, 10759, 10785, 10791; cv-9903, 64 cv-9903, 67 85

1:15-cv-9903, 676, 891, 948, 949, 950

